Case: 21-11001   Document: 123    Page: 1   Date Filed: 08/23/2022




                         No. 21-11001

          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE FIFTH CIRCUIT


                 UNITED STATES OF AMERICA,

                                   Plaintiff-Appellee,

                            v.
                       ZACKEY RAHIMI

                                  Defendant-Appellant.


        On Direct Appeal from the United States District
           Court for the Northern District of Texas
                     Fort Worth Division


     APPELLANT’S SUPPLEMENTAL REPLY BRIEF
                  Criminal Appeal


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           Case: 21-11001              Document: 123               Page: 2        Date Filed: 08/23/2022




                                          TABLE OF CONTENTS

TABLE OF AUTHORITIES ................................................................................... iii

SUPPLEMENTAL REPLY BRIEF ..........................................................................1

I.    The parties agree that Bruen overruled the governing Fifth Circuit
      decisions. .............................................................................................................1

II. The plain text of the Second Amendment covers the conduct
    prohibited by § 922(g)(8). ...................................................................................2

     A. The text of the Second Amendment extends its protections to all
        members of the American political community. ...........................................3

     B. The Government’s proposed limitation on the Second
        Amendment’s scope finds no support in constitutional text..........................4

     C. During the ratification debates, there were multiple proposals to
        protect the firearm rights of some, but not all, American citizens.
        The Founders rejected those proposals in favor of an unqualified
        right belonging to all of “the people.” ...........................................................6

III. The Government hasn’t pointed to anything even remotely
     comparable to § 922(g)(8). ................................................................................12

     A. Domestic violence has been a widely acknowledged social
        problem since before the founding; conditions have not changed
        enough to alter the constitutional calculus. ..................................................13

     B. Antebellum surety laws are too late in time and not nearly as
        onerous as § 922(g)(8). ................................................................................15

     C. There is no tradition of disarming members of the American
        political community just because they were deemed “dangerous.” ............16

     D. There is a historical tradition protecting the firearms rights of
        unvirtuous, irresponsible law-breakers. .......................................................18




                                                              ii
           Case: 21-11001             Document: 123              Page: 3       Date Filed: 08/23/2022




                                      TABLE OF AUTHORITIES

Cases
District of Columbia v. Heller,
   554 U.S. 570 (2008) .....................................................................................passim

Kanter v. Barr,
  919 F.3d 437 (7th Cir. 2019) (Barrett, J., dissenting) ....................................4, 18

Nat’l Rifle Ass’n of Am., Inc. v. Bureau of Alcohol, Tobacco, Firearms
  & Explosives,
  700 F.3d 185 (5th Cir. 2012) ................................................................................ 1

New York State Rifle & Pistol Ass’n, Inc. v. Bruen,
  142 S. Ct. 2111 (2022) .................................................................................passim

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  270 F.3d 203 (5th Cir. 2001). ............................................................................... 1

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United States v. Verdugo–Urquidez,
  494 U.S. 259 (1990) .............................................................................................. 3

Constitutional Provisions
Bill of Rights ................................................................................................6, 7, 8, 10

First Amendment........................................................................................................ 3

Second Amendment ..........................................................................................passim

Fourth Amendment .................................................................................................... 3

Ninth Amendment ...................................................................................................... 3

Tenth Amendment...................................................................................................... 3

Fourteenth Amendment .....................................................................................14, 15

                                                           iii
           Case: 21-11001             Document: 123             Page: 4       Date Filed: 08/23/2022




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18 U.S.C. § 922(g)(8)........................................................................................passim

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                                                           iv
        Case: 21-11001     Document: 123       Page: 5   Date Filed: 08/23/2022




                       SUPPLEMENTAL REPLY BRIEF

      There is good news and bad news. The good news is that the parties agree

about several important points: that the constitutionality of § 922(g)(8) is an open

question for the panel in light of New York State Rifle & Pistol Ass’n, Inc. v. Bruen,

142 S. Ct. 2111 (2022); that the Court should first decide whether “the Second

Amendment’s plain text covers an individual’s conduct”; that an affirmative answer

to the first question makes § 922(g)(8) presumptively unconstitutional; and that the

Government could only overcome that presumption by demonstrating that

§ 922(g)(8) “is consistent with the Nation’s historical tradition of firearm

regulation.” Bruen, 142 S. Ct. at 2129–30. The bad news is that we disagree about

the first question and the historical evidence.

I.   The parties agree that Bruen overruled the governing Fifth Circuit
     decisions.

      The parties agree that the constitutionality of 18 U.S.C. § 922(g)(8) is an open

question for the panel because Bruen unequivocally overruled this Court’s prior

decisions in United States v. McGinnis, 956 F.3d 747 (5th Cir. 2020), Nat’l Rifle

Ass’n of Am., Inc. v. Bureau of Alcohol, Tobacco, Firearms & Explosives, 700 F.3d

185, 194 (5th Cir. 2012), and United States v. Emerson, 270 F.3d 203 (5th Cir. 2001).

(U.S. Supp. Br. 10–13). After Bruen, the Court’s job begins and ends with “the

Second Amendment’s text, as informed by history.” Bruen, 142 S. Ct. at 2127.

                                           1
       Case: 21-11001      Document: 123       Page: 6   Date Filed: 08/23/2022




      The parties also agree about the order of operations. The Court should first

decide whether “the Second Amendment’s plain text covers an individual’s

conduct.” (U.S. Br. 15) (quoting Bruen, 142 S. Ct. at 2129). If so, “the Constitution

presumptively protects that conduct.” Bruen, 142 S. Ct. at 2129. Then, if the

“conduct is protected, ‘the government must . . . justify its regulation by

demonstrating that it is consistent with the Nation’s historical tradition of firearm

regulation.” (U.S. Br. at 15) (quoting Bruen, 142 S. Ct. at 2130).

II. The plain text of the Second Amendment covers the conduct
    prohibited by § 922(g)(8).

      “When the Second Amendment’s plain text covers an individual’s conduct,

the Constitution presumptively protects that conduct.” Bruen, 142 S. Ct. at 2129–30.

The parties disagree about whether the presumption of unconstitutionality applies

here. (Compare Rahimi Supp. Br. 13–14 with U.S. Supp. Br. 17–21). But there is

still substantial agreement.

      There is no dispute that § 922(g)(8) is a complete ban on “keep[ing] and

bear[ing]” firearms. The statute prohibits the mere possession of firearms, even at

the defendant’s own home. See 18 U.S.C. § 922(g)(8) (“It shall be unlawful for any

person . . . (8)who is subject to [a domestic violence protective order] . . . to . . .

possess in or affecting commerce, any firearm or ammunition.”). “Nor does any

party dispute that” the § 922(g)(8) ban applies to “weapons ‘in common use’ today

                                           2
       Case: 21-11001     Document: 123       Page: 7   Date Filed: 08/23/2022




for self-defense,” like rifles and handguns. Bruen, 142 S. Ct. at 2134 (quoting

District of Columbia v. Heller, 554 U.S. 570, 627 (2008)).

      The only dispute about coverage is over who has a right to keep and bear arms.

The text of the Second Amendment provides the answer:

         A well regulated Militia, being necessary to the security of a free
         State, the right of the people to keep and bear Arms, shall not be
         infringed.

U.S. Const., amend. II (emphasis added). When the Constitution uses “the people,”

it means citizens and members of the political community. Heller, 554 U.S. at 580–

81. The Government suggests that this plain-text reading is wrong, and the right to

bear arms belongs only to “law-abiding, responsible citizens.” (U.S. Supp. Br. 14)

(emphasis added) (quoting Heller, 554 U.S. at 635). The Government is wrong.

   A. The text of the Second Amendment extends its protections to all
      members of the American political community.

      The Second Amendment, along with the First, Second, Fourth, Ninth, and

Tenth Amendments, refers to “the people.” Within the Constitution, “the people” is

a “term of art”—wherever it occurs, “the term unambiguously refers to all members

of the political community, not an unspecified subset.” Heller, 554 U.S. at 580–81

(emphasis added); accord United States v. Verdugo–Urquidez, 494 U.S. 259, 265

(1990) (The term “refers to a class of persons who are part of a national community

or who have otherwise developed sufficient connection with this country to be

                                          3
           Case: 21-11001       Document: 123        Page: 8      Date Filed: 08/23/2022




considered part of that community.”). The Second Amendment right—no less than

the others mentioned above—“belongs to all Americans.” Heller, 554 U.S. at 581.

The Government offers no textual argument to the contrary—or at least no argument

based on the text of the Amendment that “the people” of the United States actually

ratified through their elected representatives and delegates.

   B. The Government’s proposed limitation on the Second
      Amendment’s scope finds no support in constitutional text.

       To hear the Government tell it, the Second Amendment right does not belong

to all members of the American political community. Instead, the Government

argues, the Second Amendment only protects “law-abiding, responsible citizens.”

(U.S. Supp. Br. 14) (emphasis added) (quoting Heller, 554 U.S. at 635). Nothing in

the text of the Second Amendment supports that view.1

       Heller stated that the Second Amendment “surely elevates above all other

interests the right of law-abiding, responsible citizens to use arms in defense of



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          As then-Judge Barrett persuasively explained, it is “analytically awkward” “to say that
certain people fall outside the Amendment’s scope,” especially when they are Citizens who were
formerly covered by the Amendment. Kanter v. Barr, 919 F.3d 437, 452 (7th Cir. 2019) (Barrett,
J., dissenting). This is true for concrete categories of people (e.g., convicted misdemeanants), and
it is especially true for abstract categories of people like “responsible” and “law-abiding”
citizens. This brief addresses those labels under coverage, rather than historical tradition, because
that is the way the Government argued. To the extent that these abstract categories should be
analyzed under history and tradition, § 922(g)(8) would still fail constitutional scrutiny for all the
reasons described in Section III. The Government has not pointed to a single historical
antecedent for a law completely disarming “irresponsible” citizens or those who maintained their
position within the political community but failed to abide by a law other than a capital crime. In
fact, the historical record shows that these categories of people maintained their right to arms.
                                                    4
       Case: 21-11001     Document: 123       Page: 9   Date Filed: 08/23/2022




hearth and home.” 554 U.S. at 635. And Bruen repeatedly noted that the respondents,

who were challenging New York’s restrictions on carrying handguns in public, were

“law-abiding citizens.” 142 S. Ct. at 2122, 2125, 2131, 2133, 2134, 2138, 2150,

2156. But both Bruen and Heller stressed that the text of the Second Amendment

controls the outcome of these questions, not “judges’ assessments” about the utility

of protecting the right for any particular person. Bruen, 142 S. Ct. at 2129; Heller,

554 U.S. at 634.

      Besides that, Bruen was very explicit that the presumption of

unconstitutionality is triggered “[w]hen the plain text of the Second Amendment

covers an individual’s conduct.” 142 S. Ct. at 2129–30 (emphasis added). The

Government’s proposed limiting language is not found in the text of the

Amendment. If there is any tension between the Supreme Court’s shorthand

description of what the Second Amendment protects and the actual text of the

amendment, obviously the text prevails. Compare Heller, 554 U.S. at 635 (The

Amendment “surely elevates above all other interests the right of law-abiding,

responsible citizens to use arms in defense of hearth and home.”) (emphasis added),

with Bruen, 142 S. Ct. at 2134 (“Nothing in the Second Amendment’s text draws a

home/public distinction with respect to the right to keep and bear arms.”).




                                          5
      Case: 21-11001      Document: 123       Page: 10   Date Filed: 08/23/2022




   C. During the ratification debates, there were multiple proposals to
      protect the firearm rights of some, but not all, American citizens.
      The Founders rejected those proposals in favor of an unqualified
      right belonging to all of “the people.”

      The Government’s attempt to limit the Second Amendment to people it deems

“law abiding” or “responsible” has no textual support. But even if the text were

ambiguous, the recorded debates over the necessity—and then the content—of what

became the Second Amendment should remove any doubt about its scope.

      If the founding generation had intended to protect a right to bear arms for only

some of the citizens, or to make that right subject to Congressional judgment about

who should, and who should not, be trusted with firearms, they could have saved

themselves a lot of trouble. They already had a ready-made template in England’s

1689 Declaration of Rights:

         That the Subjects which are Protestants, may have Arms for their
         Defence suitable to their Conditions, and as allowed by Law.

Heller, 554 U.S. at 593 (emphases added) (quoting 1 W. & M., ch. 2, § 7, in 3 Eng.

Stat. at Large 441). That provision “has long been understood to be the predecessor

to our Second Amendment.” Id. Even 100 years after its adoption, this provision was

so well known to James Madison that he mentioned its shortcomings “[i]n his notes

for a speech introducing what became the Bill of Rights.” Stephen Halbrook, The

Founders’ Second Amendment 251 (2d ed. 2019) (quoting Notes for a Speech in

Congress, June 8, 1979, 12 The Papers of James Madison 193 (Charls F. Hobson, et
                                          6
       Case: 21-11001      Document: 123        Page: 11   Date Filed: 08/23/2022




al. eds. 1979)). The “fallacies” of the declaration included the fact that it was only

an Act of Parliament (and thus could be overcome when Parliament wanted) and it

only protected the rights of some of the citizens—protestants. Id.

      The “American drafters” of the Bill of Rights “adopted some English rights

verbatim,” but “the language of the two pronouncements on arms differs markedly

and importantly.” Joyce Malcolm, To Keep and Bear Arms 136 (1994). “The

American language is much broader” than its British predecessor, in part because it

“claims for ‘the people’—presumably regardless of their religion, state, or

condition—a right to keep and carry weapons that the government, or at least the

federal government, must not breach, unless one restricts the entire right to members

of a well-regulated militia.” Id. at 137.

      The founding generation understood that the English Declaration gave the

government too much power to disarm its subjects, under the pretense of combatting

lawbreaking. St. George Tucker—attorney, judge, law professor, and former patriot

militia officer—edited “the most important early American edition of Blackstone’s

Commentaries.” Heller, 554 U.S. at 594; see Halbrook, supra, at 310. In his own

notes, Tucker contrasted the expansive Second Amendment, which applied to all

citizens “without any qualification as to their condition or degree,” with the narrower

English guarantee. Halbrook, supra, at 310 (quoting 1 William Blackstone,

Commentaries 143 n.40 (St. George Tucker ed. 1803)). The English government
                                            7
       Case: 21-11001     Document: 123       Page: 12   Date Filed: 08/23/2022




could seize people’s guns to enforce (or on the pretense of enforcing) hunting laws.

Holbrook, supra, at 311 (quoting page 300 of Tucker’s Appendix to the Blackstone

Commentaries). The American Bill of Rights, by contrast, did not “permit any

prohibition of arms to the people.” Holbrook, supra, at 312 (quoting 1 Blackstone,

supra, at 315–16).

      There were also proposals in America to protect some, but not all, citizens’

rights to own guns. At the Pennsylvania convention to consider ratification of the

unamended Constitution, 46 delegates voted to ratify it and 23 delegates voted not

to ratify without a separate bill of rights. Halbrook, supra, at 194. Those who lost

the vote published a “dissent,” and that dissent included a demand for a separate bill

of rights. Id. One of those proposed amendments would have protected the people’s

right to own and carry firearms, but that right could be lost “for crimes committed”

or “danger of public injury”:

             7. That the people have a right to bear arms for the defence of
         themselves and their own state, or the United States, or for the
         purpose of killing game; and no law shall be passed for disarming
         the people or any of them, unless for crimes committed, or real
         danger of public injury from individuals; and as standing armies
         in the time of peace are dangerous to liberty, they ought not to be
         kept up; and that the military shall be kept under strict
         subordination to and be governed by the civil powers.




                                          8
       Case: 21-11001    Document: 123       Page: 13   Date Filed: 08/23/2022




Halbrook, supra, at 194 (emphasis added) (internal citation omitted); see U.S. Supp.

Br. 24 (citing the majority’s discussion of this same proposal in United States v.

Skoien, 614 F.3d 638, 640 (7th Cir. 2010) (en banc)).

      In the Massachusetts ratification convention, Samuel Adams proposed a

slightly different formulation of the right: “peaceable” citizens could never be

disarmed:

         And that the said Constitution be never construed to authorize
         Congress . . . to prevent the people of the United States, who are
         peaceable citizens, from keeping their own arms . . . .”

Halbrook, supra, at 205 (emphasis added) (internal citation omitted); (U.S. Br. 24)

(discussing this proposal). Adams’s proposal—like the Pennsylvania Dissenters’

earlier suggestion—failed to secure majority support even within the single

convention in which it was proposed. Id. at 205–06.

      Several other state conventions did vote in favor of individual-rights

amendments, including amendments protecting the right to weapons of self-defense.

But they all suggested amendments without Pennsylvania’s and Massachusetts’s

limiting language:

       New Hampshire: “Congress shall never disarm any citizen, unless
        such as are or have been in actual rebellion.” Halbrook, supra, at
        213 (emphasis added);

       Virginia: “That the people have a right to keep and bear arms; that a
        well regulated militia, composed of the body of the people, trained

                                         9
       Case: 21-11001     Document: 123         Page: 14   Date Filed: 08/23/2022




         to arms, is the proper, natural, and safe defence of a free state . . . .”
         Halbrook, supra, at 230;

       New York: “That the people have a right to keep and bear arms; that
        a well regulated militia, including the body of the people capable of
        bearing arms, is the proper, natural, and safe defence of a free state.”
        Halbrook, supra, at 239 & n.26; and

       North Carolina: That the people have a right to keep and bear arms;
        that a well regulated militia, composed of the body of the people,
        trained to arms, is the proper, natural, and safe defence of a free
        state . . . . Halbrook, supra, at 246 & n.74.

The most important thing to know about the “limiting language” proposed in

Pennsylvania, Massachusetts, and New Hampshire, is that it “did not find its way

into the Second Amendment.” Skoien, 614 F.3d at 648 (Sykes, J., dissenting).

      After these proposals, Congress got to work on the Bill of Rights. No version

of the Second Amendment introduced in Congress included the limiting language

proposed in Pennsylvania, Massachusetts, or New Hampshire. There was no

suggestion that the right should be limited to “peaceable,” “law-abiding,” or

“responsible” citizens.

      In fact, there is contemporaneous evidence that such a proposal would have

been rejected. As Heller recognized, 554 U.S. at 589, James Madison’s “original

draft of the Second Amendment” included a “conscientious-objector clause”:

         The right of the people to keep and bear arms shall not be
         infringed; a well armed, and well regulated militia being the best
         security of a free country: but no person religiously scrupulous

                                           10
       Case: 21-11001     Document: 123        Page: 15   Date Filed: 08/23/2022




         of bearing arms shall be compelled to render military service in
         person.

Halbrook, supra, at 252 (emphasis added); see also Heller, 554 U.S. at 589 (quoting

this same draft). Massachusetts Representative Elbridge Gerry vigorously objected

to the freedom-of-conscience provision because it might give the Government too

much power to decide who could be disarmed:

             This declaration of rights, I take it, is intended to secure the
         people against the mal-administration of the government; if we
         could suppose that, in all cases, the rights of the people would be
         attended to, the occasion for guards of this kind would be
         removed. Now, I am apprehensive, sir, that this clause would
         give an opportunity to the people in power to destroy the
         constitution itself. They can declare who are those religiously
         scrupulous, and prevent them from bearing arms.

Halbrook, supra, at 266 (emphasis added) (quoting 11 Documentary History of the

First Federal Congress of the United States of America 1286 (Bickford et al. eds.

1992)). The Senate later deleted the conscientious objector clause, and both houses

adopted the final version of the amendment that was ratified by the states. Halbrook,

supra, at 274, 278.

      This history shows that the Founders knew how to adopt a more limited right

(if they had wanted), and even had access to language proposing more limited

guarantees. They could have followed the English Declaration and guaranteed a right

to bear arms “as allowed by Law,” which would give Congress the same power that

the British Parliament had to decide who should and should not be trusted with guns.
                                          11
       Case: 21-11001      Document: 123        Page: 16   Date Filed: 08/23/2022




They could have taken Samuel Adams’s suggestion and protected only “peaceable”

citizens’ right to keep guns. They even could have provided for a revocable right

that could be completely lost upon conviction of a crime, presentation of danger, or

participation in rebellion, as the Pennsylvania Dissenters or New Hampshire

majority suggested.

      None of those proposals made the final cut. See Skoien, 614 F.3d at 648

(Sykes, J., dissenting). The text ultimately adopted and ratified “unambiguously

refers to all members of the political community, not an unspecified subset.” Heller,

554 U.S. at 580. The “plain text of the Second Amendment” offers protection to all

of the “people,” not just those deemed “law-abiding” or “responsible” by the

Government. Section 922(g)(8) is presumed unconstitutional.

III. The Government hasn’t pointed to anything even remotely
     comparable to § 922(g)(8).

      Because the conduct prohibited by § 922(g)(8) is covered by the plain text of

the Second Amendment, the Government bears a heavy burden in this appeal. It

“must affirmatively prove that its firearms regulation is part of the historical tradition

that delimits the outer bounds of the right to keep and bear arms.” Bruen, 142 S. Ct.

at 2127. That burden is even heavier because § 922(g)(8) “addresses a general

societal problem that has persisted since the 18th century,” and yet no one attempted



                                           12
       Case: 21-11001     Document: 123        Page: 17   Date Filed: 08/23/2022




to disarm domestic abusers as a class during the first two centuries of our nation’s

existence. Id. at 2131.

      The founding generation utilized a variety of tools to address intimate partner

violence, but none of them even resembled the complete disarmament contemplated

by § 922(g)(8). The Government has instead identified several dissimilar regulations

that say nothing about intimate partner violence and do not involve total deprivations

of the right to keep firearms at home for self-defense. The Government has utterly

failed to carry its burden, so this Court’s task is “fairly straightforward”: it should

strike down § 922(g)(8) as facially unconstitutional. Bruen, 142 S. Ct. at 2131.

   A. Domestic violence has been a widely acknowledged social problem
      since before the founding; conditions have not changed enough to
      alter the constitutional calculus.

      This Court’s task is “straightforward” because § 922(g)(8) addresses a

“general social problem that has persisted since the 18th century.” Bruen, 142 S. Ct.

at 2131. “[E]arlier generations” addressed the problem of domestic abuse “through

materially different means.” Id. The Government does not dispute any of that. This

is “evidence” that § 922(g)(8)—a “modern regulation”—“is unconstitutional.” Id.

      Resisting this, the Government suggests that “that problem may have changed

in the last two centuries.” (U.S. Supp. Br. 32). Perhaps domestic “homicide” happens

more often now than it did then. The Government can’t say with certainty, because


                                          13
       Case: 21-11001        Document: 123      Page: 18     Date Filed: 08/23/2022




“crime statistics from the founding era are hard to come by.” (U.S. Supp. Br. 32).

But maybe things are worse now.

       That’s not enough to carry the Government’s burden. Heller and Bruen

considered a comparable social problem: firearm violence in densely populated

communities. Bruen, 142 S. Ct. at 2131. But New York City is undoubtedly more

densely populated today than it was at the time of ratification of the Second and

Fourteenth Amendments. New York City had a total population of 33,131 in 1790,

and of 942,292 in 1870. New York City Department of City Planning Population,

Total and Foreign-born Population: New York City 1790-2000.2 Today, the

population is “roughly 8.5 million people,” packed into “303 square miles.” Bruen,

142 S. Ct. at 2168 (Breyer, J., dissenting). And there is just as much evidence that

shootings and murders are worse in the 21st century than they were at ratification.

See, e.g., City of New York, Factsheet: 2020 Shootings & Murders.3

       Despite the fact that “the island of Manhattan” is more “densely populated”

today than it was at the Founding, and it presumably experiences a comparably

higher rate of gun violence, Bruen struck down the licensing scheme. The same is

true of Heller: the Court struck down “a flat ban on the possession of handguns in

       2
         https://www1.nyc.gov/assets/planning/download/pdf/data-maps/nyc-
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                                                14
       Case: 21-11001     Document: 123         Page: 19   Date Filed: 08/23/2022




the home” “that the Founders themselves could have adopted to confront that

problem.” Id. Just so with domestic violence. The Founders could have adopted a

complete ban on firearms to combat intimate-partner violence. They didn’t.

   B. Antebellum surety laws are too late in time and not nearly as
      onerous as § 922(g)(8).

      The Government must “identify a well-established and representative

historical analogue.” Bruen, 142 S. Ct. at 2133. As in Bruen, the Government here

suggests that historical “surety laws” will do the necessary work. (U.S. Supp. Br.

27–31). Surety laws that burdened a right to carry firearms proliferated in “the mid-

19th century.” Bruen, 142 S. Ct. at 2148. That time period might be relevant to the

original public meaning of the Fourteenth Amendment, at issue in Bruen, but is a

long time after ratification of the Second Amendment in 1791, which is the time

frame that matters here. Id. at 2137–38.

      To whatever extent they are relevant to the Second Amendment, the surety

laws were even more similar to the New York public-carry regulation at issue in

Bruen, and they could not save that regulation. A comparison of § 922(g)(8) with

the surety laws shows how dissimilar they are:




                                           15
       Case: 21-11001     Document: 123        Page: 20   Date Filed: 08/23/2022




 § 922(g)(8)                             Surety Laws
 A ban.                                  Not a ban; only required a bond. Bruen,
                                         142 S. Ct. at 2148.
 Bans public carry and private Only affected carrying in public. Id.
 possession, even at home.               Person could still possess at home.
 No exception.                           Could avoid the bond if defendant could
                                         show a “special need for self-defense.”
 Can persist for years.                  Cannot “exceed[ ] six months.” Id.
 Nationwide statute, regularly enforced. Possibly never enforced. Id.

   C. There is no tradition of disarming members of the American
      political community just because they were deemed “dangerous.”

      Without any other specific historical regulation to serve as an analog, the

Government also relies on an alleged tradition permitting total bans on firearm

possession by people the Government deems “dangerous.” (U.S. Supp. Br. 22–27).

As an initial matter, it is not at all clear that this is an appropriate level of

generalization for Bruen’s purposes. One could just as easily say that there is a

tradition of disarming people that the Governing authorities wanted to disarm. That

“tradition” is the very practice the Second Amendment intended to curtail.

      As it did in Bruen, the Government points to criminal laws that prohibit affray,

riot, and other menacing use of a firearm. (U.S. Supp. Br. at 22–23). But notice the

shift—these are not laws that disarm anyone. They punish the wrongful use of

weapons in public. See Bruen, 142 S. Ct. at 2142. As with the surety laws, these are

at least marginally similar to the New York proper-cause regulation because they

                                          16
       Case: 21-11001      Document: 123        Page: 21   Date Filed: 08/23/2022




regulated someone who was carrying a gun in public. And as with the surety laws,

these were not sufficiently similar to save the New York law: “Far from banning the

carrying of any class of firearms, they merely codified the existing common-law

offense of bearing arms to terrorize the people.” Id. at 2143. No one here disputes

the Government’s authority to criminalize dangerous conduct with a gun. Our fight

is about the Government’s authority to forbid (some) American citizens who remain

members of the political community from possessing the means of self-defense, even

within their own homes.

      Finally, the Government points to the country’s detestable history of

discriminatory laws disarming “slaves,” freedmen, “native Americans,” British

loyalists, and even (under the English Declaration) Catholics. (U.S. Supp. Br. 23 &

authorities cited). But these laws are not good enough to carry the Government’s

burden for two reasons. First, the targeted groups were not considered part of “the

people”—they did not have the citizen’s privilege of full participation in the civic

life of America. Second, these groups were not targeted to avoid private violence.

To the extent these groups presented any danger at all, it was a danger of public

violence to the established political order.

      Both points are illustrated by Massachusetts’s temporary disarmament of

people who participated in Shay’s rebellion of 1786:


                                           17
        Case: 21-11001        Document: 123        Page: 22      Date Filed: 08/23/2022




           Those who had taken up arms against the state were, with some
           exceptions, able to seek a pardon from the governor. To obtain
           the pardon, however, a person needed to take an oath of
           allegiance to the state and deliver his arms to the state for a period
           of three years. In addition, during the same time period, the
           person would be unable to serve as a juror, hold government
           office, or vote “for any officer, civil or military.”

Saul Cornell & Nathan DeDino, A Well Regulated Right: The Early American

Origins of Gun Control, 73 Fordham L. Rev. 487, 507–08 (2004).

       That’s why these laws are not like § 922(g)(8). While many scholars and some

judges classify them as disarming “dangerous” people,4 they did not disarm

individuals who were entitled to the full benefit of citizenship. And they did not

disarm individuals to avoid private violence. The founding generation understood

the threat of private violence, including specifically private violence against intimate

partners. It never chose to address either of those threats with a complete ban on

possessing firearms like § 922(g)(8).

   D. There is a historical tradition protecting the firearms rights of
      unvirtuous, irresponsible law-breakers.

       Bruen places the burden squarely on the Government’s shoulders, and the

Government has not carried that burden. That is enough. But there is more.


       4
         Many judges and scholars of the Second Amendment agree with the Government that
these laws could be classified as disarming “dangerous” individuals. E.g., Kanter, 919 F.3d at
464 (Barrett, J., dissenting). Many use that label to distinguish those historical laws from modern
laws banning gun possession by people convicted of nonviolent crimes. That is a dispute for
another day. For now, it is enough that the specific laws identified the Government are not
similar enough to § 922(g)(8) to carry the Government’s burden under Bruen.
                                                 18
       Case: 21-11001     Document: 123        Page: 23   Date Filed: 08/23/2022




      The Government has not cited historical examples supporting its view that a

citizen loses any right to possess a firearm as soon as he does something the

legislature deems irresponsible, unvirtuous, or law-breaking. But it has cited an

article that affirmatively disproves that assertion. See Joseph G.S. Greenlee, The

Historical Justification for Prohibiting Dangerous Persons from Possessing Arms,

20 Wyo. L. Rev. 249, 283–84 (2020). The laws of Massachusetts, Virginia,

Maryland, and even the Federal Government described therein are much closer to

the ratification of the Second Amendment in 1791 than the examples the

Government cited here. And those laws all recognize the necessity of owning

firearms, even for those “who were convicted of stealing tax money, imprisoned,

and had nearly all their belongings confiscated.” Id.

                                  CONCLUSION

      This Court should hold that 18 U.S.C. § 922(g)(8) is unconstitutional on its

face and vacate Mr. Rahimi’s conviction and sentence.




                                          19
      Case: 21-11001     Document: 123        Page: 24   Date Filed: 08/23/2022




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                        CERTIFICATE OF SERVICE

      On August 18, 2022, I filed this corrected brief through the Court’s ECF

system as an exhibit to the Motion for leave. Opposing Counsel has therefore been

served.

                                               /s/ J. Matthew Wright




                                         20
      Case: 21-11001      Document: 123        Page: 25   Date Filed: 08/23/2022




                      CERTIFICATE OF COMPLIANCE

      Pursuant to 5th Cir. R. 32.3, the undersigned certifies this brief complies with

the type-volume limitations of Fed. R. App. P. 32(a)(7)(B).

1.    Exclusive of the exempted portions, this brief contains 4,583 words.

2.    This brief has been prepared in proportionately spaced typeface using

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3.    The undersigned understands that any material misrepresentations in this

      certificate may result in striking the brief and sanctions.

                                                /s/ J. Matthew Wright




                                          21
